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 8                    United States District Court
 9                    Central District of California
10                         Western Division
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12     SHLA GROUP INC., et al.,                          CV 23-07567 TJH (BFMx)
13                         Plaintiffs,
14           v.
                                                                   Order
15     KISSLER AND CO., INC.
16                         Defendant.
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23          The Court has considered Defendant Kissler and Co.’s [“Kissler”] motion to
24    dismiss [dkt. #15], together with the moving and opposing papers.
25          The following facts are alleged in the Complaint.
26          In 2021, Home Depot awarded Kissler a contract for the supply of universal trim
27    kits for bathtub and shower faucets. Kissler, in turn, issued purchase orders to Plaintiff
28    SHLA Group, Inc. [“SHLA”]. SHLA, in turn, somehow transferred those purchase

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 1    orders to Plaintiff Park 2580, Inc. [“Park”]. Allegedly, Gang He, SHLA’s CEO,
 2    formed Park to transact business with Kissler and to keep Kissler’s transactions separate
 3    from SHLA. Park, in turn, arranged for the trim kits to be manufactured in China.
 4          On September 12, 2023, SHLA and Park filed this case against Kissler, alleging
 5    claims for: (1) Declaratory relief; (2) Breach of contract; (3) Breach of implied
 6    contract; and (4) Promissory estoppel. The Complaint referenced, but did not include
 7    copies of, the purchase orders and some of the several emails exchanged between
 8    SHLA and Kissler.
 9          Kissler, now moves to dismiss, under Fed. R. Civ. P. 12(b)(6), the claims for
10    breach of contract, breach of implied contract, and promissory estoppel.               The
11    declaratory relief claim, which is not the subject of the instant motion, is apparently
12    based on the allegation by Danco, Inc. [“Danco”], which is not a party to this case, that
13    Kissler’s trim kits violate Danco’s United States Patent Number 9,051,720.
14    Motion to Dismiss
15          Dismissal under Fed. R. Civ. P. 12(b)(6) is proper when a complaint exhibits
16    either a “lack of a cognizable legal theory or the absence of sufficient facts alleged
17    under a cognizable legal theory.” Balistreri v. Pacifica Police Dept., 901 F.2d 696,
18    699 (9th Cir. 1988).
19          To sufficiently state a claim, a plaintiff must allege enough facts so that the
20    requested relief is plausible on its face and the defendant receives notice of the basis for
21    the claim. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). While the
22    factual allegations need not be detailed, they must go beyond labels and conclusions and
23    raise a right to relief above the speculative level. Twombly, 550 U.S. at 555. Further,
24    the Court must accept all allegations in the complaint as true and draw all reasonable
25    inferences in the plaintiff’s favor. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
26          In deciding a motion to dismiss for failure to state a claim, the Court must
27    consider the facts alleged in the complaint, as well as documents referenced or attached
28    to the complaint and facts subject to judicial notice. See Tellabs, Inc. v. Makor Issues

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 1    & Rts., Ltd., 551 U.S. 308, 322 (2007).
 2    Incorporation By Reference of Emails
 3          In its motion to dismiss, Kissler, inter alia, asked the Court to consider all of the
 4    emails exchanged among the parties to show that there was never a meeting of the
 5    minds.
 6          As an initial matter, a defendant cannot raise an affirmative defense through a
 7    Rule 12(b)(6) motion to dismiss unless the complaint sets forth, on its face, an absolute
 8    defense or bar to recovery. Weisbuch v. County of Los Angeles, 119 F3d 778, 783, fn.
 9    1 (9th Cir. 1997). Rather, affirmative defenses should be raised through a motion for
10    summary judgment. See Brownmark Films, LLC v. Comedy Partners, 682 F.3d 687,
11    690-691 (7th Cir. 2012).     Here, the Complaint does not set forth, on its face, an
12    absolute defense or other bar to recovery.
13          SHLA and Park alleged that on December 17, 2021, Kissler issued three
14    purchase orders to SHLA. The Complaint, then, alleged that “[t]he purchase orders
15    cover the universal trim kits for the Moen, Delta and Valley brand bathtub and shower
16    faucets that the parties were discussing in their March and July emails.”             The
17    Complaint, then, alleged that Kissler issued on April 13, 2022, three revised purchase
18    orders to Park.    The Complaint, then, alleged that “[t]he purchase orders cover
19    universal trim kits for the Moen, Delta and Valley brand bathtub and shower faucets
20    that the parties were discussing in their March and July emails.” There were no other
21    relevant references to emails in the Complaint.
22          Generally, the Court is not permitted to consider facts beyond the four corners
23    of a complaint when assessing its sufficiency under Fed. R. Civ. P. 12(b)(6). Lee v.
24    City of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001). However, the incorporation
25    by reference rule is an exception to that general rule. Khoja v. Orexigen Therapeutics,
26    Inc., 899 F.3d 988, 998 (9th Cir. 2018).          The Court may consider documents
27    incorporated by reference into a complaint. Davis v. HSBC Bank Nevada, N.A., 691
28    F.3d 1152, 1159-1160 (9th Cir. 2012).          A document is deemed to have been

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 1    incorporated by reference if the complaint referred extensively to that document, or if
 2    the document forms the basis of the claim. United States v. Ritchie, 342 F.3d 903, 908
 3    (9th Cir.2003).
 4             Here, the Complaint did not extensively refer to the emails. Indeed, the emails
 5    were mention only in passing. Further, the emails did not form the basis of any claims,
 6    here. Rather, Kissler wants to use the emails to establish its affirmative defense that
 7    there were no legally binding contracts, here.
 8             Thus, it would not be appropriate for the Court to consider the emails at this
 9    procedural juncture.
10    Sufficiency of Claims
11             Regardless of the emails, SHLA and Park’s claims for breach of contract, breach
12    of implied contract, and promissory estoppel are vague, ambiguous, and lack sufficent
13    facts.
14             By way of examples only, and not an exhaustive list, SHLA and Park refer to
15    themselves collectively throughout the Complaint as the Plaintiffs, so it is unclear as to
16    which of them is asserting which claims; it is unclear as to whether one or both of the
17    Plaintiffs are asserting a claim for breach of contract; and it is unclear as to which
18    alleged promises were made to which Plaintiff in support of the breach of implied
19    contract and promissory estoppel claims.
20             As they draft their amended complaint, Plaintiffs should keep in mind the specific
21    deficiencies raised by Kissel in its motion to dismiss, and that “[t]hreadbare recitals of
22    the elements of a cause of action, supported by mere conclusory statements, do not
23    suffice.” Iqbal, 556 U.S. at 678.
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25             Accordingly,
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27             It is Ordered that the claims for breach of contract, breach of implied contract,
28    and promissory estoppel be, and hereby are, Dismissed with leave to amend.

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 1          It is further Ordered that Plaintiffs shall file an amended complaint within
 2    thrity (30) days.
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 4    Date: May 1, 2024
 5                                            __________________________________
 6                                                   Terry J. Hatter, Jr.
 7
                                              Senior United States District Judge

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